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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 DEVON BROWN,                                          )
                                                       )
                        Petitioner,                    )
                                                       )
 vs.                                                   ) Case No. 1:15-cv-0603-LJM-TAB
                                                       )
 UNITED STATES OF AMERICA,                             )
                                                       )
                        Respondent.                    )

                Entry Dismissing Action and Directing Entry of Final Judgment

                           I. The Motion Pursuant to 28 U.S.C. § 2255

        Petitioner Devon Brown is confined at a federal prison in Colorado serving the executed

 portion of a sentence imposed by this Court in No. 1:07-cr-060-LJM-MJD. According to Brown,

 after being sentenced in No. 1:07-cr-060-LJM-MJD he was sentenced to a term of eight years by

 a Georgia state court and this sentence was to be served concurrent with the federal sentence.

        Brown has filed this action pursuant to 28 U.S.C. § 2255 challenging the computation of

 his federal sentence by the Bureau of Prisons. More specifically, Brown alleges that the present

 configuration of his sentences by prison authorities calls for his Georgia state sentence to be served

 consecutive to the federal sentence. This would cause him to serve, in the aggregate, more time

 than intended by the state court in Georgia.

        A motion pursuant to 28 U.S.C. § 2255 is the presumptive means by which a federal

 prisoner challenges his conviction or sentence. See Davis v. United States, 417 U.S. 333, 343

 (1974). Section 2255 requires the court to vacate, set aside, or correct the sentence of a prisoner in

 custody if the Court finds that “the sentence was imposed in violation of the Constitution or laws

 of the United States, or that the court was without jurisdiction to impose such sentence, or that the
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 sentence was in excess of the maximum authorized by law, or is otherwise subject to collateral

 attack.” 28 U.S.C. § 2255(a).

       Here, Brown does not contend that the conviction or sentence in No. 1:07-cr-060-LJM-MJD

 is infirm in any way. Rather, he challenges the manner in which the sentence is being computed

 and executed. This is an appropriate challenge under 28 U.S.C. § 2241 because § 2241 provides a

 vehicle for attacking “the execution, not the validity, of the sentence,” United States v. Ford, 627

 F.2d 807, 813 (7th Cir. 1980), and hence “challenges to the computation of a sentence must be

 brought under 28 U.S.C. § 2241.” Clemente v. Allen, 120 F.3d 703, 705 (7th Cir. 1997)(citing

 Carnine v. United States, 974 F.2d 924, 927 (7th Cir. 1992)); see also United States v. Johnson,

 No. CRIM. 08-30236-GPM, 2009 WL 3824583, at *1-2 (S.D. Ill. Nov. 15, 2009)(“the United

 States Court of Appeals for the Seventh Circuit specifically has held that the proper mechanism

 for challenging the computation of a federal prison sentence is a petition under 28 U.S.C. § 2241”)

 (citing cases). For him to do this, Brown “must petition against his prison custodian in the federal

 judicial district where he is confined, not, as he attempts to do here, in this district against this

 Court.” Id. at *2 (citing cases). This is because the sole venue for a § 2241 habeas corpus petition

 is the judicial district where Petitioner is detained. Webster v. Daniels, 784 F.3d 1123, 1144 (7th

 Cir. 2015) (en banc) (citing Rumsfeld v. Padilla, 542 U.S. 426, 434–35 (2004)).

       For the reasons explained, the Court concludes that 28 U.S.C. § 2255 does not provide a

 remedy of the sentence computation challenge Brown presents. His 28 U.S.C. § 2255 motion will

 therefore denied and the action dismissed without prejudice.

       Judgment consistent with this Entry shall now issue.

       This Entry shall also be entered on the docket in the underlying criminal action,

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                                   II. Certificate of Appealability

         Pursuant to Federal Rule of Appellate Procedure 22(b), Rule 11(a) of the Rules Governing

 § 2255 Proceedings, and 28 U.S.C. § 2253(c), the Court finds that Brown has failed to show that

 reasonable jurists would find it “debatable whether the district court was correct in its procedural

 ruling.” Slack v. McDaniel, 529 U.S. 473, 484 (2000). The Court therefore denies a certificate of

 appealability.

         IT IS SO ORDERED.


                                                   ________________________________
 Date:___________
       5/19/2016                                   LARRY J. McKINNEY, JUDGE
                                                   United States District Court
 Distribution:                                     Southern District of Indiana
 Electronically Registered Counsel

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